         Case 2:10-cr-00176-KJD-PAL            Document 75        Filed 10/28/10      Page 1 of 1



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 4                                  UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                                 Plaintiff,  )                   Case No. 2:10-cr-00176-KJD-PAL
                                               )
 9   vs.                                       )
                                               )                                ORDER
10   JORDAN WILLIAMS,                          )
                                               )                    (Mot for Severance - Dkt. #53)
11                                 Defendant.  )
     __________________________________________)
12
13          Before the court is Defendant Williams’ Motion for Severance to Maintain the Current Trial
14   Setting (Dkt. #53). The government filed a response (Dkt. #56) indicating the government had no
15   objection to severing Williams’ trial from the trial of his co-Defendant, Jessica Medina. On October
16   12, 2010, the district judge continued the trial to November 8, 2010. Thereafter, both Defendants filed
17   a stipulation to continue the calendar call and trial date (Dkt. ##64, 65). The district judge has granted
18   both stipulations and given the Defendants different trial dates. Accordingly,
19          IT IS ORDERED Defendant Williams’ Motion (Dkt. #53) is GRANTED to the extent his trial
20   is severed from the trial of his co-Defendant.
21          Dated this 26th day of October, 2010.
22
23                                                        _________________________________________
                                                          PEGGY A. LEEN
24                                                        UNITED STATES MAGISTRATE JUDGE
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